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                        UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TEXAS
                               WACO DIVISION

WSOU INVESTMENTS LLC                        §
                                            §
vs.                                         §     NO: WA:20-CV-00480-ADA
                                            §
DELL TECHNOLOGIES INC., DELL INC.,          §
EMC CORPORATION, VMWARE, INC.

                ORDER RESETTING MOTIONS HEARING VIA ZOOM

       IT IS HEREBY ORDERED that the above entitled and numbered case is reset for

MOTIONS HEARING VIA ZOOM on Thursday August 04, 2022 at 10:00 AM before the

Honorable Derek T. Gilliland. The Zoom hearing can be accessed by counsel at the following

link: https://txwd-uscourts.zoomgov.com/j/1610427634?pwd=V2RpaERVTkdySGI4b2F6cTZGSWRiZz09.



SIGNED this 26th day of July, 2022.




                                                ______________________________
                                                DEREK T. GILLILAND
                                                UNITED STATES MAGISTRATE JUDGE
